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         /s/ Charles G. Wohlrab                 12/01/2020
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        LeRoy W. Etheridge, Esquire         01/04/2021


                                      *no objection to its terms, without prejudice to any of our
                                      rights and remedies
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                                                     Charles Wohlrab
